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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,           )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )      Case No. 20-13293
                                     )      Honorable David M. Lawson
 INTERNATIONAL UNION, UNITED         )
 AUTOMOBILE, AEROSPACE, AND          )
 AGRICULTURAL IMPLEMENT              )
 WORKERS OF AMERICA,                 )
                                     )
                  Defendant.         )




                    MONITOR’S SEVENTH STATUS REPORT
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          Pursuant to Paragraph 58 of the Consent Decree (Dkt. No. 10), the Court-appointed

 Monitor, Neil M. Barofsky, respectfully submits to the Court this seventh status report (“Seventh

 Report”) concerning the monitorship of the International Union, United Automobile, Aerospace,

 and Agricultural Implement Workers of America (the “Union” or the “UAW”).

                                                  *         *        *

          The Monitor is filing this Seventh Report with the Court to formally certify the results of

 the 2022 UAW International Officer Election (“Election” or “2022 Election”) and 2023 UAW

 International Officer Run-Off Election (“Run-Off Election” or “2023 Run-Off Election”)

 (collectively, the “Elections”), pursuant to the Official Rules for the 2022 Election (“Election

 Rules”) and the Run-Off Election (“Run-Off Rules”) (collectively, the “Rules”).

          In the Monitor’s Fourth, Fifth, and Sixth Status Reports, the Monitor previously announced

 the “unofficial” results of the Elections upon completion of the vote counts, as required by the

 Rules.1 Thereafter, and under the Rules, all winning Candidates were timely installed into office

 pursuant to those results.2

          The Rules further require that the Monitor certify the results of the Elections “upon

 completion of the internal protest and appeal procedure.”3 The Monitor has now resolved all



 1
   Election Rules § 2-14; Run-Off Rules § 2-14. See Monitor’s Fourth Status Report, USA v. Int’l Union, United Auto.,
 Aerospace & Agric. Implement Workers of Am. (December 5, 2022), Civil No. 20-cv-13293, ECF No. 97; Monitor’s
 Fifth Status Report, USA v. Int’l Union, United Auto., Aerospace & Agric. Implement Workers of Am. (March 17,
 2023), Civil No. 20-cv-13293, ECF No. 101; Monitor’s Sixth Status Report, USA v. Int’l Union, United Auto.,
 Aerospace & Agric. Implement Workers of Am. (March 25, 2023), Civil No. 20-cv-13293, ECF No. 102; see also
 Addendum to Monitor’s Sixth Status Report, USA v. Int’l Union, United Auto., Aerospace & Agric. Implement
 Workers of Am. (May 2, 2023), Civil No. 20-cv-13293, ECF No. 103.
 2
   See UAW Const., art. 10, § 16 (“Incoming elective officers of the International Union shall be obligated and installed
 within seven (7) days of the announcement of the election results by the Court-appointed Monitor.”); Election Rules
 § 2-16 (“[N]ewly elected UAW International Officers shall be installed on or about a date to be determined in or about
 December 2022 within 7 days of the unofficial announcement of the results, irrespective of the final certification of
 the 2022 Election.”); Run-Off Rules § 2-16 (“[N]ewly elected UAW International Officers shall be installed on or
 about a date to be determined in or about March 2023 within 7 days of the unofficial announcement of the results,
 irrespective of the final certification of the Run-Off Election.”).
 3
   Election Rules § 2-15; Run-Off Rules § 2-15.

                                                            1
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 protests of the Elections.4 Therefore, the Monitor is filing this Report to certify those results

 previously reported to the Court.5 Although all such protests have now been resolved by the

 Monitor, some of the protesters have appealed—or still have time to appeal—to the Department

 of Labor (“DOL”) under Title IV of the Labor-Management Reporting and Disclosure Act of 1959

 (“LMRDA”),6 pursuant to Paragraph 13 of the Consent Decree.7 Several protests remain pending

 before DOL. The Monitor will advise on the status of DOL’s review and resolution of these

 protests in a future report.

                                                        ***

           Pursuant to Paragraph 58 of the Consent Decree, the foregoing Report constitutes the

 seventh report of the Monitor, Neil M. Barofsky.


 Date: June 16, 2023

                                                               ____________________________
                                                               Neil M. Barofsky, Monitor
     Respectfully filed with the Court on behalf
     of the Monitor by counsel to the Monitor,
     ____/s/ Michael W. Ross_____________
     Michael W. Ross
     JENNER & BLOCK LLP
     1155 Avenue of the Americas
     New York, New York 10036
     (212) 891-1600 (t)
     (212) 891-1699 (f)

 4
   If the Monitor had determined that a violation of the Rules or federal law had potentially impacted the outcome of
 either election, the Monitor would have taken remedial action, including “ordering the rerun of any nomination or
 election, or any portion thereof[.]” Election Rules § 9-4(v); Run-Off Rules § 9-4(v); see also Election Rules § 9-7;
 Run-Off Rules § 9-7 (“Should the Monitor refuse to certify any election, the Monitor shall then immediately order
 that a Rerun election be held . . . .”).
 5
   See Election Rules § 2-15; Run-Off Rules § 2-15.
 6
   29 U.S.C. § 482. The Monitor ruled on the last outstanding protest on June 15, 2023. Following the Monitor’s final
 decision, a protestor may file their complaint with DOL within one calendar month of the Monitor’s ruling. 29 U.S.C.
 § 482(a)(2). DOL must resolve or otherwise take action on the complaint within sixty days of its filing. 29 U.S.C. §
 482(b).
 7
   See also Election Rules § 9-5; Run-Off Rules § 9-5 (“An aggrieved member can always seek redress with the
 Secretary of Labor and [the DOL’s Office of Labor-Management Standards] if they believe a violation of the LMRDA
 occurred, as long as they have exhausted the ‘internal’ remedies of filing a complaint/protest with the Monitor.”).

                                                          2
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 16, 2023, the foregoing Report was served electronically on

 all counsel of record via the CM/ECF system. In addition, pursuant to Paragraph 58 of the Consent

 Decree, the foregoing Report was served on consent by electronic mail upon the United States, the

 UAW’s International President, the International Executive Board, and designated counsel for

 UAW.

                                                            ___/s/ Michael W. Ross__________
                                                                Michael W. Ross




                                                3
